Case p99-cv-11558-ER-M@@pocument 18 Filed 09/08/00 ‘@ of 4 Page ID #:11
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Mattel, Inc. 38-5 ~~ > | Bo og
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8 UNITED STATES DISTRICT COURT
9 CENTRAL DISTRICT OF CALIFORNIA
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11}) MATTEL, INC., a Delaware corporation, CASE NO. 99-11558 ER (MCx)
12 Plaintiff, ) [ STIPULATED
) JUDGMENT AGAINST DAN MILLER
13 v. ) AND BARBARA MILLER
)
141} BARBARA MILLER, an individual, )
DAN MILLER, an individual and DOES 1 )
15 | through 10, inclusive, ven vg rer COUN
16 Defendants. —
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Pursuant to the Stipulation for Entry of Judgment Against Dan Miller and
Barbara Miller between plaintiff Mattel, Inc. ("Mattel") and defendants Dan Miller and
Barbara Miller ("Defendants"),

IT 1S HEREBY ORDERED, ADJUDGED AND DECREED THAT:

1. This Court has jurisdiction over the parties and the subject matter of
this action.

2. Judgment is hereby entered in favor of Mattel on each of its claims
as set forth in the Complaint. This Judgment is entered into by consent of the parties, in
full and final resolution of this civil action.

3. Defendants shall pay Mattel a total of $34,327.85 in damages (the
"Judgment Sum").

4. Each Defendant shall be jointly and severally liable for the Judgment
Sum.

5, The Judgment Sum shall not accrue interest.

6. Commencing on September 15, 2000, and continuing monthly
thereafter for sixty (60) months until fully paid, the Judgment Sum shall be paid to Mattel
by Defendants in monthly installments of $573.00. Each payment must be received by
Maitel on the fifteenth day of each month. Each payment shall be made in the form of a
check payable to Mattel, Inc. and shall be delivered to:

Michele M. McShane, Esq.

Vice President and Assistant General Counsel
Mattel, Inc.

Law Department - M.S. MI-11518

333 Continental Blvd.

El Segundo, CA 90245-5012

7. Each party shall bear its own fees and costs incurred in connection
with this action.

8. Execution on this Stipulated Judgment shall be stayed provided that

Defendants regularly pay the monthly installments in the manner provided herein.

Case :99-cv-11558-ER-M@Bpocument 18 Filed 09/08/00 ‘@ 30f4 Page ID #:13

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9. The Court shall retain jurisdiction to enforce this Stipulated

Judgment until performance in full of its terms.

Dated: SFP R000

United States Dis¢ict Court Judge

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¢ PROOF.OF SERVICE
(CCP § § 1013a, 2015.5)

STATE OF CALIFORNIA )
) ss.
COUNTY OF LOS ANGELES)

Iam employed in the County of Los Angeles, State of California; | am over the age of eighteen years
and not a party to the within entitled action; my business address is 865 SOUTH FIGUEROA STREET,
10TH FLOOR, LOS ANGELES, CALIFORNIA 90017.

On September 6, 2000, I served the foregoing [PROPOSED] STIPULATED JUDGMENT AGAINST
DAN MILLER AND BARBARA MILLER on the interested parties in this action by placing a true copy thereof,

enclosed in a sealed envelope, addressed as follows:

Dan Miller

Barbara Miller

1 West Sumner Avenue, Ste. |
Spokane, Washington 99204-3551

x BY MAIL

] placed such envelope in the mail at Los Angeles, California. The envelope was mailed with postage
thereon full prepaid.

X___ As follows: I am "readily familiar" with the firm's practice of collection and processing correspondence
for mailing. Under that practice it would be deposited with U.S. Postal service on that same day with
postage thereon fully prepaid at Los Angeles, California in the ordinary course of business. I am aware
that on motion of the party served, service is presumed invalid if postal cancellation date or postage meter
date is more than one day after date of deposit for mailing in affidavit.

Executed on September 6, 2000, at Los Angeles, California.
BY FACSIMILE
I transmitted from a facsimile transmission machine whose telephone number is (213) 624-0643 _ the
following documents described above to whose facsimile transmission machine telephone number is
. The above-described transmission was reported as complete without error by a
transmission report issued by the facsimile transmission machine upon which the said transmission was

made immediately following the transmission.

Executed on , at Los Angeles, California.

STATE | declare under penalty of perjury under the laws of the State of California that the above is true
and correct.

X___FEDERAL I declare that I am employed in the office of a member of the bar of this court at whose
direction the service was made.

Type or Print Name Signature

